          Case 8:21-bk-11710-ES                     Doc 199 Filed 08/24/22 Entered 08/24/22 16:32:52                                  Desc
                                                     Main Document     Page 1 of 4
 Attorney or Party Name, Address, Telephone & FAX Numbers, and California State Bar Number      FOR COURT USE ONLY




     Attorney for



                    UNITED STATES BANKRUPTCY COURT
                     CENTRAL DISTRICT OF CALIFORNIA

 In re
                                                                                                CHAPTER

                                                                                 Debtor(s),     CASE NUMBER


                                                                                                       ADVERSARY NUMBER (if applicable)
                                                                                Plaintiff(s),          See attached list for multiple cases that require
                                                                                                       an update to the attorneys information

                                              vs.



                                                                                 Debtor(s).

                          NOTICE OF ATTORNEY CHANGE OF ADDRESS OR LAW FIRM
                                    (See page 2 for additional requirements)

The following information must be provided:

I, ________________________________,__________________,_____________________________
                 Name                       Bar ID Number                      E-Mail Address
      am counsel of record or
       out-of-state attorney in the above-entitled cause of action for the following party(s) (single case)



         am counsel of record or
          out of state attorney on all cases listed as an attachment to this form (multiple cases)

and am requesting the following change(s):

                                  PROVIDE ONLY THE INFORMATION THAT HAS CHANGED

         Attorney Name changed to______________________________________________________________________
         New Firm/Government Agency Name_______________________________________________________________
         New Address__________________________________________________________________________________
         New Telephone Number_______________________________New Facsimile Number _______________________
         New E-Mail Address____________________________________________________________________________




                                                    Notice of Change of Address or Law Firm
(September 2009)
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                                        Main Document     Page 2 of 4
SELECT THE CATEGORY AND COMPLETE THE INFORMATION REQUESTED:

      TO UPDATE NAME, ADDRESS OR FIRM INFORMATION:
           I am providing the new information above pursuant to Local Rule 2091-1 to be updated on the
           above-entitled cause of action and/or all cases listed on the attachment.

      TO BE TERMINATED FROM THE CASE:**
            I am, or
               the aforementioned attorney from my firm is no longer counsel of record in the above-entitled
               cause of action and/or all cases listed on the attachment.

         Note: Attorneys for parties are never deleted from a case in order to maintain historical data.

   CHECK ONE BOX
         The order relieving me/the aforementioned attorney from my firm was entered on:______________
         There is/are other attorney(s) from the undersigned attorney’s law firm/government agency who
         is/are counsel of record in this case.
         I am, or
             the aforementioned attorney is no longer with the firm/government agency representing the
             above-named party in this action. There is/are attorney(s) from my former firm/government
             agency who are currently counsel of record in this/these case(s).

       **This form cannot be used as a substitution of attorney form. For substitution of attorney procedures please refer to
       Local Bankruptcy Rule 2091-1 and form F2090-1.4, Substitution of Attorney. At least one member of the
       firm/government agency MUST continue to represent and receive service for the parties indicated in this action.

Dated:_____________________________                            /s/Robert P. Goe
                                                              _________________________________________
                                                                 Signature of Present Attorney

IF YOUR FIRM IS NOT ALREADY PART OF THIS ACTION AND ARE ASSOCIATING IN AS COUNSEL OF RECORD A
NOTICE OF APPEARANCE PURSUANT TO F.R.B.P. 9010(b) SHOULD BE FILED. IF YOU ARE GOING TO APPEAR
PRO HAC VICE, A SEPARATE APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE
MUST BE FILED PURSUANT TO LBR 2090-1(b).

PLEASE NOTE: CM/ECF users must file this Notice of Change of Address or Law Firm separately and
electronically for every pending case pursuant to Local Bankruptcy Rule 2091-1. Please refer to the
procedures posted on the Court’s website on how to file this notice for single or multiple cases. The court will
update the case information once filed.




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                  CHANGE OF ADDRESS FOR ROBERT P GOE

In Re 3200 Myers Street Partners, LLC Case No. 8:22-bk-10057-SC

In Re Thomas Girardi Case No. 2:20-bk-21020-BR

In Re Judith Ann Boehm Case No. 6:21-bk-11707-SY

In Re Lean Ann Brandt Case No. 6:21-bk-13618-SY

In Re Gloria E. Brown Case No. 6:19-18932-SC

In Re Northern Holding, LLC Case No. 8:20-bk-13014-ES

In Re Coto Investments, Inc. Case No. 9:20-bk-11239-DS

In Re Cramer Engineering, Inc. Case No. 6:20-bk-13516-SY

In Re Wei Dai Case No. 6:20-bk-16456-SY

In Re Daisy Wheel Ribbon Co., Inc. Case No. 6:20-bk-10762-MH

In Re Stephen J. Haythorne Case No. 8:16-bk-11882-ES

In Re Stonewood Homes, LLC Case No. 8:20-bk-12881-ES

In Re Herbert Jeffrey Edwards Case No. 6:21-bk-15765-SY

In Re Bruce Elieff Case No. 8:19-bk-13858-ES

In Re Flowmedia Solutions, LLC Case No. 6:19-10665-SC

In Re Jason Mitchell Ford Case No. 6:20-bk-16752-SY

In Re Kornel Gerszi Case No. 8:20-bk-11055-SC

In Re Greenday Plastering, Inc. Case No. 6:20-bk-17385-SY

In Re Raymond Howard Case No. 6:19-bk-12423-WJ

In Re Home Security Stores, Inc. Case No. 6:15-bk-14230-MH

In Re Jamie Gallian Case No. 8:21-bk-11710-ES

In Re Vance Johnson Case No. 6:18-bk-10939-MH
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In Re Vasken Kiladjian Case No. 8:20-bk-11939-SC

In Re Christine Master Case No. 6:22-bk-11542-SY

In Re Ronald M. Moore Case No. 6:19-bk-11044-WJ

In Re Eric Wayne Mydland Case No. 8:19-bk-11047-SC

In Re Karla Johanna Navas Case No. 6:22-bk-11311-SC

In Re PH DIP, Inc. Case No. 2:18-bk-15972-WB

In Re Karen June Bredice Case No. 1:18-bk-10752-MB

In Re Jill Suzann Medley Case No. 6:20-bk-11768-SY

In Re Jill Suzann Medley Case No. 9:21-bk-10542-RC

In Re Bredice v Escrow Cash Advance – 1:22-ap-01022-MB

In Re Prime Metals U.S.A., Inc. Case No. 8:17-bk-14535-ES

In Re Raymond Richard Quinto Case No. 6:19-bk-10538-SC

In Re Batyah Capital, LLC Case No. 9:22-bk-10331-RC

In Re Samini Cohen Spanos LLP Case No. 2:20-bk-10046-NB

In Re Karnig Sarkissian Case No. 6:20-bk-10755-SY

In Re John & Ellen Tackett Case No. 6:16-bk-15813-MH

In Re Taco Factory, Inc. Case No. 6:15-bk-16089-SY

In Re Bar Piatto Case No. 6:20-bk-13006-WJ

In Re TTBGM, LLC Case No. 6:20-bk-1005-WJ

In Re SOCAL MRO LLC Case No. 6:21-bk-14335-SY

In Re Zietz, Jennifer Case No. 6:22-10248-SY
